                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                    CIVIL ACTION NO. 3:13-CR-00204-MOC-DSC


UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
                                                 )                     ORDER
v.                                               )
                                                 )
BOGGS PAVING, INC., et al.,                      )
                                                 )
                 Defendants.                     )



       THIS MATTER is before the Court on Defendant Boggs Paving, Inc.’s “Application for

Admission to Practice Pro Hac Vice [for James D. Galyean]” (document # 12) filed July 30,

2013. For the reasons set forth therein, the Motion will be granted.


       The Clerk is directed to send copies of this Order to counsel for the parties, including but

not limited to moving counsel; and to the Honorable Max O. Cogburn, Jr..


       SO ORDERED.


                                               Signed: July 30, 2013




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